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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
Michael R. Spengler                                                     CASE NUMBER

                                                                                       2:21-cv-09515DOC-SP
                                          Plaintiff(s)/Petitioner(s),
                               v.
LASD Does, et al.,
                                                                              ORDER OF DISMISSAL OR REMAND

                                      Defendant(s)/Respondent(s).


The Court previously received from               Plaintiff(s)/Petitioner(s)           Defendant(s)/Respondent(s):
                 an IFP Request with no accompanying Complaint/Petition/Notice of Removal.
                 a Complaint/Petition/Notice of Removal without an accompanying IFP Request
                 or payment of the filing fees.
            a Complaint/Petition/Notice of Removal with a partial filing fee payment for an amount
            less than the required $400.
                    Order re IFP
The Court sent a warning letter to      Plaintiff(s)/Petitioner(s) Defendant(s)/Respondent(s) advising that
failure to correct this deficiency within THIRTY DAYS from the date of the warning letter would result in
dismissal or remand of this case. More than THIRTY DAYS have now passed, and the deficiency has not been
corrected.

Accordingly, this case is HEREBY ORDERED

                 DISMISSED. No further filings shall be accepted under this case number.

                 REMANDED to the                                                             . No further findings shall be
                 accepted under this case number.

IT IS SO ORDERED.



 Dated:            +VOF 
                                                                                      United States District Judge




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